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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA
Holding a Criminal Term

Grand Jury Sworn in on May 25, 2021

UNITED STATES OF AMERICA : CRIMINAL NO.
v. : GRAND JURY ORIGINAL
MILIQUE N. WILSON, : VIOLATIONS:
: 18 U.S.C. § 922(g)(1)
Defendant. : (Unlawful Possession of Ammunition by

a Person Convicted of a Crime
Punishable by Imprisonment for a Term
Exceeding One Year)

22 D.C. Code § 4503(a)(1)

(Unlawful Possession of a Firearm
(Prior Conviction))

FORFEITURE: 18 U.S.C. § 924(d),
21 U.S.C. § 853(p) and 28 U.S.C. § 2461(c)

INDICTMENT

The Grand Jury charges that:

| COUNT ONE

On or about August 27, 2021, within the District of Columbia, MILIQUE N. WILSON,
knowing he had previously been convicted of a crime punishable by imprisonment for a term
exceeding one year, in the Circuit Court for Prince George’s County, Maryland, Criminal Case
No. CT110205X, did unlawfully and knowingly receive and possess ammunition, that is,
seventeen rounds of assorted 9mm caliber ammunition, which had been possessed, shipped and
transported in and affecting interstate and foreign commerce.

(Unlawful Possession of Ammunition by a Person Convicted of a Crime Punishable

by Imprisonment for a Term Exceeding One Year, in violation of Title 18, United States
Code, Section 922(g)(1))
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COUNT TWO
On or about August 27, 2021, within the District of Columbia, MILIQUE N. WILSON,
knowing he had previously been convicted in any court of a crime punishable by imprisonment
for a term exceeding one year, owned, kept, and had within his possession and control, a firearm.

(Unlawful Possession of a Firearm (Prior Conviction), in violation of 22 D.C. Code,
Section 4503 (a)(1) (2001 ed.))

FORFEITURE ALLEGATION

1 Upon conviction of the offense alleged in Count One of this Indictment, the
defendant shall forfeit to the United States, pursuant to Title 18, United States Code, Section 924(d)
and Title 28, United States Code, Section 2461(c), any firearms and ammunition involved in or
used in the knowing commission of the offense, including but not limited to: one un-serialized
Privately Manufactured Firearm (PMF), P80 style, 9mm caliber, as well as seventeen rounds of
assorted 9mm ammunition.

2. If any of the property described above as being subject to forfeiture, as a result of
any act or omission of the defendant:

(a) cannot be located upon the exercise of due diligence;

(b) __ has been transferred or sold to, or deposited with, a third party;

(c) has been placed beyond the jurisdiction of the Court;

(d) has beén substantially diminished in value; or

(e) has been commingled with other property that cannot be subdivided without

difficulty;
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the defendant shall forfeit to the United States any other property of the defendant, up to the value
of the property described above, pursuant to Title 21, United States Code, Section 853(p), as
incorporated by Title 28, United States Code, Section 2461(c).

(Criminal Forfeiture, pursuant to Title 18, United States Code, Section 924(d), Title 21,
United States Code, Section 853(p), and Title 28, United States Code, Section 2461(c))

A TRUE BILL:

FOREPERSON.

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Attorney of the vcd States in
and for the District of Columbia.
